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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

E.I. DUPONT DE NEMOURS AND                        )
COMPANY,                                          )
                 Plaintiff,                       )
                                                  )
     v.                                           )
                                                  )   CASE NO. 3:12-CV-1104-HU
HERAEUS PRECIOUS METALS NORTH                     )
AMERICA CONSHOHOCKEN LLC, AND                     )
SOLARWORLD INDUSTRIES AMERICA,                    )
INC.,                                             )
               Defendants.                        )
                                                  )

            ORDER AND JUDGMENT OF DISMISSAL WITH PREJUDICE

          On this day, Plaintiff E.I. DuPont de Nemours and Company ("Plaintiff') and

   Defendant Heraeus Precious Metals North Ametica Conshohocken LLC ("Defendant")

   announced to the Court that they have settled Plaintiffs claims for relief against

   Defendant and SolarWorld Industries Ametica, Inc. ("Co-defendant") and Defendant's

   counterclaims for relief against Plaintiff asserted in this case. Plaintiff and Defendant

   have therefore requested that the Court dismiss Plaintiff's claims for relief against

   Defendant and Co-defendant with prejudice and dismiss Defendant's and Co-

   defendant's counterclaims for relief against Plaintiff, other than Defendant's



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   counterclaim for violation of the Lanham Act, without prejudice as moot, and

   Defendant's counterclaim for violation of the Lanham Act with prejudice and with all

   attomeys' fees, costs and expenses taxed against the party incurring same.           The

   Court, having considered this request, is of the opinion that their request for dismissal

   should be granted.

          IT IS THEREFORE ORDERED AND ADJUDGED that Plaintiffs claims for

   relief against Defendant and Co-defendant are dismissed with prejudice and Defendant's

   and Co-defendant's counterclaims for relief against Plaintiff, other than Defendant's

   counterclaims for violation of the Lanham Act, are dismissed without prejudice as moot,

   and Defendant's counterclaims for violation of the Lanham Act are dismissed with

   prejudice. This dismissal with prejudice of Defendant's Lanham Act counterclaims

   includes Count IV, which this Court previously dismissed without prejudice.

          IT IS FURTHER ORDERED that all attomeys' fees, costs of court and

   expenses shall be bome by each party incurring the same.




                                               The Honorable e is J. Rubel
                                               United States Ma 1strate Judge




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